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         Judge Kiyo A. Matsumoto
         United States District Court
                                                                         ROGER BURLINGAME
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         Via ECF & email

         June 4, 2024



                         Re: United States v. Trevor Page, 21 CR 517 (KAM) (RLM)

         Dear Judge Matsumoto,

         We respectfully write to request an extension until June 14, 2024, of the deadline to file
         confessions of judgment on two properties partially securing defendant Trevor Page’s bond. The
         bail order dated May 21, 2024, set forth a deadline of June 4, 2024. The government consents
         to this request.

         On May 21, 2024, the Court released Mr. Page on a $600,000 bond. The agreed-upon bail
         package included properties located in Philadelphia and Fort Worth, Texas, and the bail order
         provided that confessions of judgment be filed on each property by today. Due to an unexpected
         challenge securing the necessary paperwork in a timely fashion (which was not caused by any
         of the suretors pledging their property), we will not be able to meet the original deadline and
         respectfully request that Your Honor extend it to June 14, 2024.

         Respectfully submitted,



         Roger A. Burlingame

         cc: AUSAs Hiral Mehta and Dylan Stern (via ECF & email)
